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                              UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF VIRGINIA


SONY MUSIC ENTERTAINMENT, et al.,

         Plaintiffs,

v.
                                                         Case No. 1:18-cv-00950-LO-JFA
COX COMMUNICATIONS, INC., et al.,

         Defendants.




              NOTICE OF PLAINTIFFS’ ELECTION OF STATUTORY DAMAGES

            Pursuant to Magistrate Judge John F. Anderson’s instruction during the Motion Hearing

     held on January 25, 2019, Plaintiffs hereby give notice stating that, in accordance with 17

     U.S.C. § 504(c), Plaintiffs elect to recover statutory damages in connection with the above-

     referenced case.




     Dated February 4, 2019                                 Respectfully Submitted,

                                                            /s/ Scott A. Zebrak
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